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                                          4
RE: Goode v. Ramsaur et al, Case No. 1:20-cv-00947-DDD- Discovery Hearing

         Hicks, Andrea <ahicks@swlaw.com>
 HA
           Thu, 19 Jan 2023 3:43:05 PM -0600 •

    To "yanaroslaw" <valerie@yanaroslaw.com>

    Cc "Adams, Anna" <amadams@swlaw.com>

Valerie-

I wanted to let you know that I will be leaving Snell & Wilmer next week. My colleague, Anna Adams, copied here, will be
taking over this matter for me. Can you please provide her an update after the discovery hearing on Tuesday?

Thank you!

Andrea

Andrea Hicks
office: 303.634.2006 | mobile: 925.787.9555
ahicks@swlaw.com
Snell & Wilmer
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From: yanaroslaw <valerie@yanaroslaw.com>
Sent: Thursday, January 12, 2023 3:08 PM
To: Hicks, Andrea <ahicks@swlaw.com>
Subject: Re: Goode v. Ramsaur et al, Case No. 1:20-cv-00947-DDD- Discovery Hearing


[EXTERNAL] valerie@yanaroslaw.com


Hi Andrea,

Thank you so much for your call on Tuesday. Per our call, I will keep you updated regarding status on the discovery hearing on the 24th. We
anticipate the hearing covering—mainly—the issues with regard to Mr. Richard’s refusal to comply with his deposition subpoena, Mr.
Kennedy’s refusal to provide the requested bank records central to the litigation (related to the subpoena for your client, Wells Fargo), Mr.
Kennedy’s leak of my client’s confidential deposition to multiple online platforms, and opposing counsel’s misconduct throughout discovery
(and especially during depositions). As I stated on our call, Wells Fargo’s case manager that has been assigned to my client’s subpoena had
promised to provide documents by December 6. We haven’t received any documents yet and I have not received any responses to my calls
to her. I will follow up with her tomorrow. Please let me know if you have any update from your client. We are preparing a motion for
sanctions against the defendants and their counsel that will lay our issues for the discovery hearing out more in detail. We intend to file this
motion next week.

I really appreciate your time on Tuesday and your explanation of the issues related to the subpoena. Please do not hesitate to contact me
with regard to any questions that you may have. Thank you again and I will talk to you soon.

Best,
Val

Valerie Yanaros, Esq.
Yanaros Law, P.C.
8300 Douglas Avenue Suite 800
Dallas, Texas 75225
Telephone: (512) 826-7553

*Please note new address.

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---- On Fri, 06 Jan 2023 09:56:36 -0600 yanaroslaw<valerie@yanaroslaw.com> wrote ----

  Yes, you can call me directly 512-826-7553. Thank you and have a good weekend. Good luck on your depo!

  Valerie Yanaros, Esq.
  Yanaros Law, P.C.
  8300 Douglas Avenue Suite 800
  Dallas, Texas 75225
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                                       4
Telephone: (512) 826-7553

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---- On Fri, 06 Jan 2023 09:49:29 -0600 Hicks, Andrea <ahicks@swlaw.com> wrote ---


     That works for me. Should I call you?

     Andrea M. Hicks
     Snell & Wilmer LLP

     On Jan 6, 2023, at 8:45 AM, yanaroslaw <valerie@yanaroslaw.com> wrote:

     ﻿

     [EXTERNAL] valerie@yanaroslaw.com<mailto:valerie@yanaroslaw.com>

     ________________________________
     Hi Andrea,

     I had some fires come up yesterday since getting back in town--how about we schedule Tuesday at 10 am central?

     Valerie Yanaros, Esq.
     Yanaros Law, P.C.
     8300 Douglas Avenue Suite 800
     Dallas, Texas 75225
     Telephone: (512) 826-7553

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     ---- On Thu, 05 Jan 2023 10:56:16 -0600 Hicks, Andrea <ahicks@swlaw.com> wrote ---


     On Friday, I have a call at noon CT and another at 3:30 pm CT, but am available otherwise.



     Next week, I am in deposition on Monday, but the rest of the week is fairly open.



     Andrea



     Andrea Hicks


     office: 303.634.2006 | mobile: 925.787.9555


     ahicks@swlaw.com<mailto:ahicks@swlaw.com>


     Snell & Wilmer


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Case No. 1:20-cv-00947-DDD-KAS Document 92-2 filed 01/20/23 USDC Colorado pg 3 of
                                      4


  From: yanaroslaw <valerie@yanaroslaw.com<mailto:valerie@yanaroslaw.com>>
  Sent: Wednesday, January 4, 2023 8:19 PM
  To: Hicks, Andrea <ahicks@swlaw.com<mailto:ahicks@swlaw.com>>
  Subject: Re: Goode v. Ramsaur et al, Case No. 1:20-cv-00947-DDD- Discovery Hearing



  [EXTERNAL] valerie@yanaroslaw.com<mailto:valerie@yanaroslaw.com>



  ________________________________


  Ms. Hicks,



  Thank you for reaching out. Do you have time for a brief call to discuss this Friday or early next week?



  I hope your year has started well.



  Valerie Yanaros, Esq.

  Yanaros Law, P.C.

  8300 Douglas Avenue Suite 800

  Dallas, Texas 75225

  Telephone: (512) 826-7553



  *Please note new address.



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  ---- On Tue, 03 Jan 2023 17:55:07 -0600 Hicks, Andrea <ahicks@swlaw.com<mailto:ahicks@swlaw.com>> wrote ---



  Ms. Yanaros-



  I represent Wells Fargo in relation to the subpoenas that have been issued. The court has set a discovery hearing for
  January 24, 2023, but it is unclear to me whether the hearing involves the subpoena issued to Wells Fargo or relates to
  the motion to compel. Can you please advise so that I can determine whether I need to appear at the hearing?



  Thank you.



  Andrea
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                                      4


  Andrea Hicks




  office: 303.634.2006 | mobile: 925.787.9555
  email: ahicks@swlaw.com<mailto:ahicks@swlaw.com>




  Snell & Wilmer




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